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MARY CHR|ST|NE GREEN

Michae| Stengel, CJA
Defense Attorney

50 N. Front St.; Ste. 850
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on lVlay 2, 2005. According|y, the
court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Tiue & section NLW_QMH§Q §Mg Nu_mml§l
21 U.S.C. § 846 Conspiracy to Manufacture and/or 10/28/2004 1

Distribute |Vlethamphetamine

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the i\/landatory
Victims Restitution Act of 1996.

Count(s) 2, 3, 4 and 5 dismissed on the motion of the United States.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days ofany change of name, residence, or mailing address until all fines, restitutionl costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 12/12/1963 August 16, 2005
Deft’s U.S. Marshai No.: 20102-076

Defendant’s lVlailing Adclress:
122 E|dad Road
Trenton, TN 38382

OQ/w¢b,SW//

JAME . TODD

CHIE NlTED STATES D|STR|CT JUDGE
This document entered on the docket eet' o fiance AUguSt`éL’ 2005
Wirh nure 55 and/or ez(b) irach on § l l§ l Ej.§

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Case No: 1:050r10004-01-T Defendant Name: Nlary Christine Green Page 2 of 5
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 30 Months as to Count 1 of the indictment

The Court recommends to the Bureau of Prisons: institution where the defendant can
participate in a long term residential drug treatment program.

The defendant is remanded to the custody of the United States Marshai.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgmentl
UN|TED STATES MARSHAL
By:

 

Deputy U.S. l\/larshal

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Case No: 1:050r10004-01-T Defendant Name: Mary Christine Green Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonmentl the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federal, state

or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply With the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial districtwithout the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controiled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered ;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ocher;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal |Vlonetary Penalties sheet of this judgment

ADD|TIONAL CONDIT|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and/or treatment for
substance abuse as directed by the Probation Office.

2. The defendant shall participate in a mental health treatment program (either inpatient or
outpatient) as directed by the Probation Office.

3. The defendant shall cooperate in the collection of DNA as directed by the Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Tota| Fine Tota| Restitution

$100.00 $998.40

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The Special Assessment shall be due immediately.
FlNE
No fine imposed

REST|TUT|ON

Restitution in the amount of $998.40 is hereby ordered The defendant shall make
restitution to the following victim in the amounts listed below. Restitution shall be paid in
monthly installments equal to ten percent (10%) of the defendants total gross monthly
household income from all sources. The defendant shall be required to regularly furnish
proof of her gross monthly household income, upon which the amount of monthly payments
shall be based, to the U. S. Probation Office. The defendant shall not incur new credit
charges or open any additional lines of credit without the permission of the U. S. Probation
Officer, while any portion of the restitution remains unpaid

Priority Order
Total Amount Amount of or Percentage
Name of payee of Loss Restitution Ordered of Payment

DRUG ENFORCE|V|ENT $998.40
ADMIN|STRAT|ON,

Attn: APPROPR|AT|ON

NO. H2-2004-0404-0119

lf the defendant makes a partial payment each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

 

ISTRIC COURT - WESERNT D"CTRIT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 1:05-CR-10004 Was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

Memphis7 TN 38103--111

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable .l ames Todd
US DISTRICT COURT

